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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTI-HERN DISTRICT OF GEORGIA

AUGUSTA DlesIoN
UNITED sTATEs oF AMERICA )
)
v. ) CR 117-034
)
REALITY LEIGH WINNER )
0RDER

The Court GRANTS Defendant’s Motion to Continue, (doc. no. 181), and CANCELS
the December 19, 2017, hearing regarding the sufficiency of Defendant’s CIPA notices.
Accordingly, the government need not file a brief regarding the sufficiency of Defendant’s CIPA
notices. However, the Court Will conduct a classified hearing regarding defense Internet
searches on Tuesday, December 19, 2017, at 10:00 a.m., at the Federal Justice Center, 600 James
Brown Boulevard, Augusta, Georgia. Government counsel may attend the hearing, but their
presence is not required. At 11:00 a.rn. on the same day, the Court will conduct an unclassified
hearing to discuss the status of the case and all remaining deadlines Counsel may attend this
second hearing in person or by phone. The Court will provide dial-in instructions to counsel.

Should Defendant Wish to exercise her right of attendance at these hearings, for the
purpose of transportation arrangements, defense counsel shall notify the Courtroom Deputy
Clerk of her attendance by no later than noon on Monday, December 18, 2017.

SO ORDERED this 14th day of December, 2017, at Augusta, Georgia.

UNITED STATE.S `MAGISTRATE .TUDGE
SOU'I'HERN DIS'IRICT OF GEORGIA

 

